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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Derek Clements, et al.,             )
                                    )
                        Plaintiffs, )
                                    )                C.A. No. 2:22-2069-RMG
       v.                           )
                                    )
Lloyd J. Austin, III, Secretary of  )
Defense., et al.,                   )
                                    )                ORDER
                        Defendants. )
___________________________________ )

       Plaintiffs have moved for the Court to reconsider its order severing the claims of the

twenty- four named Plaintiffs and dismissing twenty of the Plaintiffs who lack venue in the District

of South Carolina. (Dkt. No. 28). Plaintiffs have further moved for leave to amend their complaint

to dismiss all Defendants except Secretary of Defense Lloyd Austin and to dismiss their claims

under the Religious Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb-1 et. seq., and the First

Amendment. (Id.). Plaintiffs have attached to their motion a proposed amended complaint that

asserts three claims under the Administrative Procedures Act (APA), 5 U.S.C. §. 551 et seq. (Dkt.

No. 28-2).

       The Court hereby shortens the time for Defendants to respond to the Plaintiffs’ Motion for

Reconsideration and Leave to Amend to August 9, 2022.          Additionally, in light of Plaintiffs’

statement that there is no longer an immediate need to address issues raised in Plaintiffs’ Motion

for a Temporary Restraining Order and Preliminary Injunction (Dkt. No. 26 at 2), the Court hereby

continues the hearing previously set for August 12, 2022 (Dkt. No. 14) until further order of the

Court. The Court denies Plaintiffs’ motion to stay (Dkt. No. 26) as moot.




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       AND IT IS SO ORDERED.




                                               s/ Richard M. Gergel
                                               Richard M. Gergel
                                               United States District Judge


August 2, 2022
Charleston, South Carolina




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